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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
                               CRIMINAL MINUTES -- CHANGE OF PLEA

Case No. CR 24-00091-ODW                                Date: December 16, 2024
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PRESENT: HONORABLE OTIS D. WRIGHT, II, JUDGE

Sheila English                                COURT SMART                     Leo J. Wise/ Derek E. Hines
Courtroom Deputy                                                                  Asst. U.S. Attorney


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U.S.A. vs (Defendant listed below)        Attorney for Defendant

       Alexander Smirnov                                         David Z Chesnoff/ Naser J. Khoury
       present in custody                                        present retained

________________________________________________________________________________
PROCEEDINGS: CHANGE OF PLEA

Court and counsel confer re the change of plea. Defendant moves to change his plea to the
Indictment. Defendant now enters a new and different plea of Guilty to Count Two of the
Indictment. The Court questions the defendant regarding the plea of Guilty and finds a factual and
legal basis for the plea; waivers of constitutional rights are freely, voluntarily and intelligently made;
plea is provident; plea is accepted and entered.

The Court refers the defendant to the Probation Office for the preparation of an EXPEDITED
presentence report and continues the matter to January 8, 2025 at 10:30 a.m., for sentencing.
Position papers are due 2 weeks before the sentencing. If the papers are NOT submitted in time,
they will not be considered.

All dates other than the sentencing hearing date are vacated as to this defendant.

Counsel are notified that Federal Rule of Criminal Procedure 32(b)(6)(B) requires the parties to
notify the Probation Officer, and each other, of any objections to the Presentence Report within
fourteen (14) days of receipt. Alternatively, the Court will permit counsel to file such objections
no later than twenty-one (21) days before Sentencing. The Court construes "objections" to
include departure arguments. Requests for continuances shall be filed or requested no later
than twenty-one (21) days before Sentencing. Strict compliance with the above is mandatory
because untimely filings impede the abilities of the Probation Office and of the Court to prepare
for Sentencing. Failure to meet these deadlines is grounds for sanctions.

cc: P. O. & P. S. A. L. A.

CR-8 (09/06)                       CRIMINAL MINUTES - CHANGE OF PLEA                            : 40

                                                                       Initials of Deputy Clerk: SE
